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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
                                               *           Civil No.    CCB-19-2973
           v.                                  *           Criminal No. CCB-16-0267
                                               *
                                               *
DANTE D. BAILEY, et al.                        *
                                               *
                                               *

                                           ORDER

       On October 10, 2019, Dontray Johnson filed a motion under 28 U.S.C. § 2255 seeking to

vacate his conviction. The government filed an opposition on July 2, 2020. Johnson requested

and received an extension of time to reply. On August 3, 2020, he filed a request to withdraw his

2255 petition. Accordingly, it is hereby ORDERED that:


      1. The request to withdraw (ECF 1540) is GRANTED;

      2. The motion to vacate (ECF 1299) is DISMISSED;

      3. The Clerk shall CLOSE Civil Action No. CCB-19-2973; and

      4. The Clerk shall SEND a copy of this Order to Johnson and to counsel of record.


11/23/2020                                                             /s/
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   Date                                                    Catherine C. Blake
                                                           United States District Judge
